                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION

JERRAL W. JONES,
     Plaintiff,

vs.                                                    CIVIL ACTION No. 5:23-cv-00032-RWS

ALEXANDRA DAVIS and CYNTHIA                                       JURY TRIAL DEMANDED
DAVIS f/k/a CYNTHIA DAVIS-SPENCER,
     Defendants.

             DEFENDANT ALEXANDRA DAVIS POSITION ON CONFLICT

       Pursuant to the Court’s Order at the conclusion of trial on July 22, 2024, Defendant

Alexandra Davis (“Alexandra Davis”) submits this position brief in response to the Court’s

question regarding whether Defendant Alexandra Davis had pled and listed in the Parties Joint

Pre-Trial Order and in response would show the following:

                                                I.
                                      Joint Pre-Trial Order

       Defendant Alexandra Davis listed the following in under “D Contentions of the Parties” in

the very first contention listed set forth the argument:

               1. Davis was never a party to the Settlement Agreement, nor was she
                  bound by the Settlement Agreement. AT the time the Settlement
                  Agreement was executed, Davis was a minor. No ad Litem, independent
                  counsel, or court reviewed the Settlement Agreement or represented
                  Davis at the time of the Settlement Agreement’s execution

See Amended Joint Final Pre-Trial Order (Dkt. 216 p. 6).

                                             II.
                                          Pleading


       Defendant Alexandra Davis’ First Amended Answer and Affirmative Defenses to

Jerral W. Jones’ Amended Complaint list as the first affirmative defense the following:
                 1.     Davis pleads that she was a minor at the time the Settlement
                 Agreement was entered into by Jones and her mother. There was not an ad
                 litem appointed to protect Davis’ interest, nor was there any review by a
                 court of the Settlement Agreement to ensure Davis’ interest were protected.
                 The Settlement Agreement is not enforceable against Davis who did not
                 have the capacity at one-year of age to enter a contract.


See Defendant Alexandra Davis’ First Amended Answer and Affirmative Defenses to Jerral W.

Jones’ Amended Complaint p. 5).

                                           III.
                              Motion for Summary Judgment

        This issue was also raised and addressed in Defendant Alexandra Davis’s Motion for

Summary Judgment. Although the Court ruled against the granting of a summary judgment on this

issue the Court held:

        Further, Alexandra Davis has not demonstrated that her interests before reaching
        the age of majority were potentially adverse to Cynthia Davis’s, which is the
        threshold for court appointment of a guardian ad litem. See Tex.l R. Civ. P.
        173.2(a).

See Order (Dkt. 196).

                                             IV.
                                          Conclusion

        Thus, Defendant Alexandra Davis has plead that the contract was not enforceable

because of the lack of a guardian ad litem and court approval. Defendant Alexandra Davis

did clearly list such position in the First Amended Pre-Trial Order. Defendant Alexandra

Davis has plead this defense from the beginning and still maintains such defense in all its

pleadings. This issue is not by any means a surprise and has been very much a part of this

case from the beginning. The Court’s denial of the summary judgment on this issue for

failure to prove for summary judgment an issue does not mean that Defendant cannot prove

a conflict of interests at trial in support of its plead defense position that is set forth as one
of her contentions in the First Amended Pre-trial Order.



Respectfully submitted,

___/s/ Matt Keil____________                           _/s/ Jay K. Gray_______
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                                 CERTIFICATE OF SERVICE

       On July 22, 2024, I electronically submitted the foregoing document with the clerk of the

court of the U.S. District Court, Eastern District of Texas, using the electronic case filing system

of the court, which will send notice of electronic filing to all counsel of record.


                                                       /s/ Jay K Gray________ __
                                                       Jay K. Gray
